   Case: 1:21-cv-06243 Document #: 151 Filed: 11/25/24 Page 1 of 2 PageID #:592




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

 CHRISTIAN A. GONZALEZ,

                     Plaintiff,
       v.                                           No. 21 CV 6243

 JUSTO RODRIGUEZ (#17897), DAMIR                    Hon. Jeffrey I. Cummings
 RASIC (#17493), ALEN DUHARKIC
 (#18248), JOHN CHAVEZ (#16361),
 ANDREW SACUTA (#17496), JOHN
 CARDEN (#17367), ELIUD DURAN
 (#3214), STEVEN STROH (#17808),
 TIMOTHY BEYER (#17914), DOUGLAS
 CONTORNO (#17467), JUSTIN VAN
 GIESEN (#16527), MACIEJ KRZEMINSKI
 (#17738), WILLIAM FILIPIAK (#17770),
 SERGEAN SHEEHAN (#3234), THOMAS J.
 DART, and COOK COUNTY,
                    Defendants.


            NOTICE OF WITHDRAWAL AND SUBSTITUTION OF COUNSEL
                          WITHIN THE SAME FIRM

        PLEASE TAKE NOTICE that on November 25, 2024, Special Assistant Cook County
State’s Attorney, Zachary G. Stillman, withdrew his appearance for Defendant Correctional
Officer Timothy Beyer (#17914) and, pursuant to Local Rule 83.17, Special Assistant Cook
County State’s Attorney, Erin M. Wright, substituted her appearance for said Defendant.


                                               Respectfully submitted,

                                               DeVore Radunsky LLC

                                         By:   /s/ Erin M. Wright
                                               Erin M. Wright (ARDC No.6530148)
                                               Special Assistant State’s Attorney
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   Case: 1:21-cv-06243 Document #: 151 Filed: 11/25/24 Page 2 of 2 PageID #:593




                              CERTIFICATE OF SERVICE

       The undersigned, an attorney, hereby certifies that the above Notice of Withdrawal and
Substitution of Counsel Within the Same Firm was filed on November 25, 2024, with the
Northern District of Illinois ECF System, serving a copy on all parties.

                                                  /s/ Erin M. Wright
